Frank 1. Hare #\QOGS

Rin Kee Chet RECEIVED
(33 ald Land Fill Road Charlotte, NC
Tayloasville N.C. 2881

FEB 21 2023
pate : FD (cs, RD

' Clerk, US District Court
Western District NC

Unite STATES DISTRICT COURT
?.6. BOX id0

Taylorsville N.C 28681

RE: FILING PRISONER ComPLAINT

DEAR CizRA OF COURT:
PLEASE FIND ENCLOSED THE ForlowiNG :
te LRimiNAL Summons
2- LomPiAi7T [$19831:
3- Moron FoR ilFoRMA PALUIPERIS:
4- Motion FOR APPOINTMENT OF Counsel | ancl!
5- fouR COY4ES REQUESTING THE CLERK 0.0. Te ALL anid retard!

3 CoPY lo PLAINTIFF STAMPED RECEWE?.

Pian? has not enclosed the Pine fee : PiainhFf antewPates LF.

Motion usitl be Granted.

Sineere \Y:
Fran Nol
et R990

 

Corer Leter te, CHOU ANS Spietlttiont 1-2 Filed 02/2183 * Bage 1 of 1
